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                  United States Court of Appeals
                               FOR T HE DISTRICT OF COLUMBIA CIRCUIT
                                         ____________


No. 25-5202                                                    September Term, 2024
                                                                             1:25-cv-01248-RC
                                                      Filed On: July 1, 2025 [2123376]
Learning Resources, Inc. and hand2mind,
Inc.,

                Appellees

         v.

Donald J. Trump, President of the United
States, in his official capacity, et al.,

                Appellants

                                           ORDER

        It is ORDERED, on the court's own motion, that this case be scheduled for oral
argument on September 30, 2025, at 9:30 A.M. The composition of the argument panel
will usually be revealed thirty days prior to the date of oral argument on the court's web
site at www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the
Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                             FOR THE COURT:
                                                             Clifton B. Cislak, Clerk

                                                     BY:     /s/
                                                             Michael C. McGrail
                                                             Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
